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                           UNITED STATES DISTRICT COURT
                                     FOR THE
                             DISTRICT OF CONNECTICUT

 JANEL GRANT,                                           )
                                                        )
                               Plaintiff,               )   Civil Action No. 3:24-cv-00090-JAM
                v.                                      )
                                                        )
 WORLD WRESTLING ENTERTAINMENT, INC.,                   )
 a/k/a WORLD WRESTLING ENTERTAINMENT,                   )
 LLC; VINCENT K. MCMAHON; and JOHN                      )
 LAURINAITIS,                                           )
                                                        )
                               Defendants.              )


              DEFENDANT JOHN LAURINAITIS’ LOCAL RULE 56(a)(1)
           STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT
                  OF HIS MOTION TO COMPEL ARBITRATION

       Pursuant to this Court’s May 8, 2024, Order Approving Stipulation Re: Scheduling (Dkt.

No. 49) and Rule 56 of the Local Rules of the United States District Court for the District of

Connecticut, Defendant John Laurinaitis, by and through his undersigned attorneys, respectfully

submits this Statement of Undisputed Material Facts in Support of his Motion to Compel

Arbitration filed on May 2, 2024 (Dkt. No. 35). Defendant believes the material facts as set forth

below and in the accompanying Declaration of Laurinaitis and in the Defendants Vincent

McMahon’s Statement of Undisputed Material Facts (Dkt. No. 60, filed May 14, 2024) (which is

adopted herein) and Defendant WWE’s Statement of Undisputed Material Fact (Dkt. No. 61-2

filed May 14, 2024) paragraphs, 8-21, inclusive, and paragraphs 23, 27 and 32 (which are adopted

herein) are undisputed and conclusively resolve the forum dispute before the Court. Defendant

Laurinaitis further moves the Court for such other and further relief as the Court may deem just

and proper and seeks leave to advance additional and or other responses, defenses, counterclaims
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and or affirmative defenses to Plaintiff’s Complaint in the event the Motion to Compel Arbitration

is denied.

       1.        At all material times relevant to the allegations set forth in Plaintiff’s Complaint,

Laurinaitis was a full-time employee of the Defendant WWE. See Declaration of Laurinaitis

accompanying this Statement.


Date: June 8, 2024                                     Respectfully submitted,

                                                       LAW OFFICE OF EDWARD M.
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                                                       Attorneys for Defendant John Laurinaitis



                                  CERTIFICATE OF SERVICE

       I certify that on June 8, 2024 a copy of the foregoing was filed electronically. Notice of

this filing will be sent by email to all parties by operation of the Court’s electronic filing system.

Parties may access this filing through the Court’s CM/ECF system.

                                                       /s/ Edward M. Brennan




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